                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA, STATE
OF CALIFORNIA, STATE OF DELAWARE,
DISTRICT OF COLUMBIA, STATE OF MAINE,
COMMONWEALTH OF MASSACHUSETTS, and
STATE OF NORTH CAROLINA,

                             Plaintiffs,

                      v.                                   No. 2:20-cv-4096

LOUIS DEJOY, in his official capacity as United States
Postmaster General; ROBERT M. DUNCAN, in his
official capacity as Chairman of the Postal Service
Board of Governors; and the UNITED STATES
POSTAL SERVICE,

                             Defendants.



                                    ORDER

       This 31st       August
            __ day of ___________,   20 it is hereby ORDERED that Plaintiffs’ Motion for
                                   20__,

                                 15 is GRANTED. Defendants shall file any opposition to
Expedited Consideration (ECF No. __)

                                                    14 by September 2, 2020. Plaintiffs shall
Plaintiffs’ Motion for Expedited Discovery (ECF No. __)

file any reply in support of their Motion for Expedited Discovery by September 3, 2020.



                                              /s/ Gerald Austin McHugh
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                                            Gerald Austin McHugh
                                            United States District Judge
